  Case 19-04229          Doc 13      Filed 03/01/19 Entered 03/01/19 14:42:21         Desc Main
                                       Document     Page 1 of 3

                       UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

IN RE:                                                Case No.: 19-04229
                                                      Chapter: 13
            Fredrick Allen Scollay                    Plan filed on 02/18/2019
            Carolyn Ruth Fischer                      Confirmation Hearing: 5/3/19

                                          Debtor(s)   Judge A. Benjamin Goldgar (Lake)


              OBJECTION TO CONFIRMATION OF PLAN FILED ON 02/18/2019



        NOW COMES OCWEN LOAN SERVICING, LLC AS SERVICER FOR DEUTSCHE
BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR AMERIQUEST MORTGAGE
SECURITIES INC., ASSET-BACKED PASS-THROUGH CERTIFICATES, SERIES 2004-R6,
and/or its assigns (hereinafter “Movant”), by and through its attorneys, Codilis & Associates,
P.C., and moves this Honorable Court for an Order denying confirmation of Debtor’s plan filed
on 02/18/2019 and in support thereof states as follows:


        1.        Debtor filed a petition under Chapter 13 of Title 11, United States Bankruptcy
Code on 2/18/19 and this Court has jurisdiction pursuant to 28 U.S.C. §1334 and Internal
Operating Procedure 15(a) of the United States District Court for the Northern District of
Illinois;


        2.        Movant intends to file a claim secured by an interest in the real property
commonly known as 22925 W Lakeview Ave # 4, Antioch, IL and that the Chapter 13 plan
herein proposes that Debtor cure the pre-petition arrearage claim through the Chapter 13 Trustee
while maintaining current, post-petition mortgage payments;


        3.        That although Movant intends to file a proof of claim indicating an estimated pre-
petition arrearage in the amount of $13,267.80, the proposed plan provides for payment of only
$0.00 in contradiction of Movant’s rights under 11 U.S.C. §1322(b)(2) and/or §1322(b)(5);
  Case 19-04229       Doc 13    Filed 03/01/19 Entered 03/01/19 14:42:21             Desc Main
                                  Document     Page 2 of 3

       4.      That assuming Debtor makes all Chapter 13 plan payments in a timely fashion,
the plan would have to be administered for approximately 77 months in order to pay Movant’s
estimated pre-petition arrearage in full and said cure is unreasonable and fails to adequately
protect Movant’s interest;


       5.      That at Part 3.1, the plan specifies the amount of the monthly current mortgage
payment to be made by the debtor as $1,086.00;


       6.      That the correct payment amount pursuant to the contract is $1,286.50 and said
amount may change from time to time due to escrow analysis or for other reasons;


       7.      That a confirmed plan might have the effect of binding Movant as a party to the
bankruptcy to accept $1,086.00 a month each month for the pendency of the bankruptcy in
contradiction of its rights under the mortgage and 11 U.S.C. §1322;


       8.      That sufficient grounds exist for denial of confirmation as Debtor’s plan:
               a.     Fails to cure Movant’s pre-petition arrearage claim amount in full;
               b.     Fails to cure Movant’s pre-petition arrearage claim within a
               reasonable time; and
               c.     Fails to provide for correct post-petition mortgage payment.


       9.      Movant has incurred attorney fees and/or costs in connection with this bankruptcy
proceeding subject to court approval, including:
                      $500.00 for Objection to confirmation of the Chapter 13 plan
                      including plan review and attending confirmation, if not separately
                      billed
  Case 19-04229             Doc 13         Filed 03/01/19 Entered 03/01/19 14:42:21       Desc Main
                                             Document     Page 3 of 3

         WHEREFORE,                OCWEN        LOAN    SERVICING,     LLC    AS    SERVICER         FOR
DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR AMERIQUEST
MORTGAGE SECURITIES INC., ASSET-BACKED PASS-THROUGH CERTIFICATES,
SERIES 2004-R6 prays this Court deny confirmation of the plan allowing the fees and costs
described herein to be added to the indebtedness pursuant to the terms of the note and mortgage,
and for such other and further relief as this Court may deem just and proper.
         Dated this 3/1/2019.
                                                             Respectfully Submitted,
                                                             Codilis & Associates, P.C.


                                                             By: /s/ Laura A. Hrisko

                                                             Berton J. Maley ARDC#6209399
                                                             Rachael A. Stokas ARDC#6276349
                                                             Peter C. Bastianen ARDC#6244346
                                                             Joel P. Fonferko ARDC#6276490
                                                             Laura A. Hrisko ARDC#6230993
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                                                             C&A FILE (14-19-01819)

NOTE: This law firm is a debt collector.
